           Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 1 of 35




          Defendants Exhibit 1: Charters
This exhibit includes the charters (and charter amendments) of the RTCA Advisory
Committee in effect during the time period described in the complaint. The FAA
issued these charters as official FAA orders. They are available on the FAAs website
at https://www.faa.gov/regulations_policies/orders_notices/, and also within the
General Services Administrations Federal Advisory Committee Act Database,
https://facadatabase.gov/


                                              Exhibit Table of Contents
                                                                                                                          Ex. 1 Page
FAA Order 1110.77V, Charter for RTCA, Inc. (Utilized as an Advisory
Committee) (effective Apr. 1, 2015 through Aug. 30, 2016) ......................................... 2

FAA Order 1110.77V Change #1, Charter for RTCA, Inc. (Utilized as
an Advisory Committee) (effective Aug. 31, 2016 through Mar. 31,
2017) ............................................................................................................................... 9

FAA Order 1110.77W, Charter for RTCA, Inc. (Utilized as an Advisory
Committee) (effective Apr. 1, 2017 through Sept. 28, 2017) ...................................... 19

FAA Order 1110.77X, RTCA Charter (effective Sept. 29, 2017 through
Mar. 28, 2018) .............................................................................................................. 26

FAA Order 1110.77Y, RTCA Charter (effective Mar. 29, 2018 through
May 29, 2018) ............................................................................................................... 31
          Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 2 of 35



                        U.S. DEPARTMENT OF TRANSPORTATION
                                                                                          ORDER
                           FEDERAL AVIATION ADMINISTRATION
                                                                                         1110.77V
                                     NextGen Organization                               Effective Date:
                                     Charter for RTCA, Inc.                              04/01/2015
SUBJ:      RTCA, Inc. (Utilized as an Advisory Committee)



1.   Committee’s Official Designation. RTCA, Inc. (Utilized as an Advisory Committee).

2. Authority. This order renews the charter for using the RTCA, Inc. (referred to as RTCA
throughout) and some of its components as an advisory committee in accordance with the
provisions of the Federal Advisory Committee Act (FACA), as amended, Pub. L. 92-463,5
U.S.C. App. RTCA benefits the public interest and supports the Federal Aviation Administration
(FAA) in performing its duties and responsibilities under Subtitle VII, 49 U.S.C. § 40101.

3. Purpose of This Order. The FAA and other Government members of the RTCA will use
components of RTCA, for example, the NextGen Advisory Committee (NAC), Program
Management Committee (PMC), Tactical Operations Committee (TOC), Special Committees
(see Appendix A) and as a Federal Advisory Committee (FAC). The FAA may decide to form
additional committees, as it deems necessary during the term of this charter. These advisory
committees will function under section 3(2)(C) of the FACA.

4. Audience. This order applies to all members of the RTCA Advisory Committees and the
FAA director level organizations at the Washington, D.C., Headquarters, and the William J.
Hughes Technical Center in Atlantic City, NJ.

5. Where to Find This Order. You can find this order on the FAA website under
“Regulations & Policies” and select “Orders & Notices”. This order can also be found on the
MyFAA Employee website, using “Tools & Resources” tab and select “Orders & Notices.”

6. This Order Cancels. FAA Order 1110.77U, RTCA, Inc. (Utilized as an Advisory
Committee), Effective Date: 04/01/2013.

7. Objective and Scope of Activities. The objective of the advisory committee is to seek
resolution of issues and challenges involving air transportation concepts, requirements,
operational capabilities, and the associated use of technology and related considerations to
aeronautical operations that affect the future Air Traffic Management System.

     a.   To achieve this, specific objectives include the following:

       (1) Combine aviation system user and provider requirements in a manner that helps
Government and industry meet their common objectives and responsibilities.



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        Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 3 of 35

04/01/2015                                                                             1110.77V

          (2) Analyze and recommend solutions to the challenges the aviation community faces
as it continues to increase safety, security, system capacity, and efficiency.

         (3) Develop consensus on relevant solutions to meet user and provider requirements,
including the development of minimum operational performance standards for electronic systems
and equipment that support aviation.

         (4) Aid in developing the appropriate material on which to base U.S. positions for the
International Civil Aviation Organization (ICAO) and other international organizations, when
requested.

         (5) Provide a venue where the FAA can solicit a single, consensus-based set of
recommendations on issues that (1) are critical to the successful implementation of NextGen and
Air Traffic Management System modernization and (2) require a commitment of resources
and/or synchronized planning between Government and industry to achieve the intended
outcome.

    b. RTCA provides the following two categories of recommendations:

        (1) Broad-gauged policy and investment priority recommendations used by the FAA
when considering policy and program decisions.

         (2) Minimum performance standards, reports, and guidance documents used by the
FAA in regulatory decisions and rulemaking. Government regulatory and procurement practices
reference or use the RTCA standards (with or without change). The RTCA recommendations are
used in the private sector as the basis for development, investment, and other business decisions.

     c. The advisory committee will not aid in the coordination or review of safety and
certification issues that are inherently governmental.

8. Description of Duties. Components of the RTCA must serve as an advisory committee
performing the following duties under the RTCA operating structure and methodology described
below:

     a. The FAA Air Traffic Organization Chief Operating Officer, the Assistant Administrator
for NextGen, the Associate Administrator for Aviation Safety, and the Assistant Administrator of
Policy, International Affairs and Environment, serve as the FAA ex officio, nonvoting members
of the RTCA Policy Board.

     b. The FAA will keep participation in all levels of the RTCA committees to a minimum,
serving in an ex officio capacity as nonvoting members. The Designated Federal Officer (DFO)
for the various committees will determine appropriate FAA participation to ensure further
understanding of the subject matter. The FAA officials will not serve as chair or co-chair of any
committee. Exceptions for Special Committees will require approval of the FAA members of
PMC.

   c. The RTCA President and the FAA members of the RTCA Policy Board will review the
NAC, the PMC and the TOC membership yearly to ensure a balanced and equitable

                                                2
        Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 4 of 35

04/01/2015                                                                           1110.77V

representation of the points of view and roles performed by the committees and to the extent
feasible of the aviation community. Recommended membership changes to the NAC, PMC, and
TOC will be presented to the RTCA President and respective DFOs for review and approval.

9. Agency or Official to Whom the Committee Reports. The RTCA Advisory Committee
must report to the Secretary of Transportation through the FAA Administrator.

10. Support. The FAA will provide support to the RTCA NAC, PMC, Special Committees,
TOC, and any other Federal advisory committee established under this charter.

11. Annual Operating Cost: FAA annual funding commitment to support RTCA operating
costs for the period covered by the charter shall not exceed $1,100,000.

12. Designated Federal Officer. The FAA Administrator, on behalf of the Secretary,
designates full-time government employees as DFO and alternate for the NAC, PMC, and TOC.

   a. The DFO or alternate must be present at all of the NAC, PMC, TOC and Special
Committee meetings.

   b. In accordance with the FACA, the DFO or alternate must be assigned to each
committee to perform the following duties:

        (1)   Call, attend, and adjourn committee meetings;

        (2)   Approve agendas, maintain required records on costs and membership;

        (3)   Ensure efficient operations;

          (4) Maintain records for availability to the public, provide copies of committee
reports to the Committee Management Officer for forwarding to the Library of Congress; and

        (5) Close any advisory committee meeting, in coordination with the chairperson,
when so doing would be in the public interest.

13. Estimated Number and Frequency of Meetings. The PMC will meet quarterly, as
required, to carry out its responsibilities. The NAC and TOC will meet three times a year to
ensure continuity and good preparation for public decision-making meetings. Special
Committees meet, as their workload requires. The NAC, PMC, TOC and Special Committee
meetings must comply with all applicable provisions of the FACA, including the following:

     a. The NAC, PMC, TOC and Special Committee meetings must be open to the public and
a notice must appear in the Federal Register at least 15 days before each meeting, except in
emergencies. The notice must include the name of the advisory committee, the time, place,
purpose of the meeting (including a summary of the agenda), and a statement that the meeting
will be open to the public. The FAA may use other forms of notice, such as press releases.




                                               3
        Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 5 of 35

04/01/2015                                                                             1110.77V

    b. Anyone interested can attend meetings and appear before the committee subject to
reasonable limits of space and time. Additionally, anyone interested may file written statements
with the committee.

       (1) Meetings may be closed to the public only as authorized by section 10(d) of the
FACA and applicable regulations.

         (2) All RTCA advisory committees will follow the regular advisory committee
process in making recommendations to the FAA, and will not make recommendations directly to
FAA program offices.

         (3) The FAA has determined that continued use of RTCA and its components as an
advisory committee is in the public interest for responsibilities imposed on FAA by law.

14. Duration: Continuing.

15. Termination: There is not a termination date.

    a. However, FAA may terminate the charter incorporated in this Order if the following
conditions occur:

         (1)   RTCA disbands; the use of RTCA components by FAA ceases;

       (2) RTCA operations as covered by the FACA do not comply with FACA or
implementing regulations, and RTCA cannot, or will not, achieve compliance;

         (3)   RTCA refuses membership to a qualified applicant; or

         (4) FAA determines that, as to important aspects of its operations, the role of RTCA
as an advisory committee cannot be upheld.

     b. The FAA will give as much advance notice as possible of such action to the RTCA and
all participants. Such action by the FAA would not prevent another Government Agency from
chartering RTCA under the Federal Advisory Committee Act.

16. Membership and Designation: The RTCA PMC has approximately 19 members. The
PMC members, with the exception of the RTCA President, are volunteers appointed by the
RTCA President and serve with concurrence of their parent organization. Selection of PMC
members is managed to ensure an appropriate balance of Government and industry perspectives
and coverage for all disciplines addressed by Special Committees. The criterion for selecting a
PMC member includes the ability to provide the requisite executive management and support of
Special Committee activities.

    a. The PMC, using Special Committees, manages most of the Federal advisory
committee–related business of the RTCA related to the development of minimum performance
standards and guidance material. The PMC establishes Special Committees in response to needs
identified by government and industry. The RTCA President, in consultation with the FAA DFO,
recommends the chair or co-chair for each committee. The PMC approves the terms of reference


                                                4
        Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 6 of 35

04/01/2015                                                                              1110.77V

for the Special Committee; approves the chairs; approves recommendations; monitors progress;
reviews reports; and approves, modifies, returns for additional work, or disapproves these
reports. The PMC meetings are open to the public and are announced in the Federal Register.

     b. Special Committees along with policy committees, such as the NAC and TOC are a
principal means for RTCA to carry out its mission for the FAA. The PMC invites the RTCA
member organizations to recruit and name qualified persons to serve on Special Committees. The
Special Committee urges any organization materially affected by work of Special Committees to
participate to create a balanced membership. In addition, the chair of any Special Committee
may invite non-members of the RTCA having expertise in the subject matter to participate. The
duration of the Special Committee depends upon the assigned tasks. The RTCA will publish
notices in the Federal Register when plenary meetings are open to the public.

     c. The RTCA NAC has approximately 28 members. Committee membership includes
representatives from the following stakeholders: Air Traffic Management Automation Providers,
Aircraft Manufacturers, Airports, Avionics Manufacturers, Department of Defense (DoD),
Environmental Interest, Finance, Labor, General Aviation, Air Carriers, Business Aviation, and
the Transportation Security Administration. The FAA (NextGen Office, Air Traffic Operations,
Aviation Safety, Airports, and Policy, International Affairs and Environment), MITRE, and
RTCA are non-voting members of the committee.

    d. The RTCA TOC has approximately 17 members. Committee membership includes
representatives from the following stakeholders: Airline Pilots, Airports, Business Aviation,
Commercial Air Carriers, Controllers (NATCA), Dispatchers, DoD, General Aviation, and
Regional Air Carriers. The FAA, MITRE, and RTCA are nonvoting members of the committee.

     e. Representatives of non-Government RTCA member organizations serve on the
committees without Government compensation. The employing organization bears all costs
related to its participation on such RTCA committees. Appointed members of the RTCA Policy
Board, Board of Directors, NAC, PMC, chairpersons of Special Committees and TOC serve as
“representative” members. They must represent a particular interest of employment, education,
experience, or affiliation with a specific aviation-related organization (reference Department of
Transportation (DOT) Order 1120.3B, Committee Management Policy and Procedures, Ch. II,
10.a.).

    f. To identify clearly and provide proper disclosure of their specific affiliation or
professional interest, appointed members will complete an Advisory Committee Candidate
Biographical Information Request, Form DOT F 1120.1 (as described in the DOT Order
1120.3B, Committee Management Policy and Procedures, Ch. II, 11b(1)). Members must
complete a new form DOT F 1120.1 when a change in affiliation occurs.

17. Subcommittees. The Department of Transportation has the authority to create
subcommittees. All RTCA advisory subcommittees or work groups must report to the parent
Federal advisory committee and must not provide advice or work products directly to the agency.

18. Recordkeeping. RTCA will publish the minutes of each NAC, PMC, Special Committee,
and TOC meeting. The official minutes must include the following: time and place of the


                                                5
        Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 7 of 35

04/01/2015                                                                              1110.77V

meeting; a list of all attendees, including members, staff, and public observers; a summary of
matters discussed and conclusions reached; reference to reports issued or approved by the
committee; and a description of public participation, including verbal or written statements. The
committee chair must certify the accuracy of the minutes. Meeting summaries are available to
the public and are posted on the RTCA web site at http://www.rtca.org.

     a. Yearly, RTCA must provide information to FAA on its committees, including, but not
limited to the following: the number of meetings of each committee; the total number of
meetings; meeting attendance for FAA, other Government, and non-Government participants;
the name and organizational affiliation of each RTCA committee member; report titles and dates;
and dates of all meetings.

   b. This order complies with the requirements in section 9(c) of the FACA for charters for
PMC and Special Committees or other advisory committee task forces.

     c. Appendix A provides a list of the current Special Committees. A new charter action is
not required to assign a new tasking to an existing Special Committee so long as the new tasking
is within its topical responsibility. These committees must comply with all requirements and
implementing regulations covered in section 10 of the FACA.

    d. The NAC, PMC, TOC and Special Committees formally and informally established
subcommittees, or other subgroups of the committee, will handle their records in accordance
with General Records Schedule 26, Item 2, or other approved Agency records disposition
schedule.

    e. Subject to the conditions of the Freedom of Information Act, 5 U.S.C. § 552(b), records,
reports, transcripts, minutes or meeting summaries, and other documents are available for public
inspection or purchase from RTCA. Copies of FAA documents are available to the public
according to the fee schedule published in title 49, part 7, of the Code of Federal Regulations.

19. Filing Date. Renewal of the RTCA charter and its components, listed in Appendix A, is
effective April 1, 2015, which is the filing date of the charter. Using RTCA components as
advisory committees will continue for two (2) years, unless sooner terminated or renewed by
proper authority.

20. Distribution. This order is available electronically as described in paragraph 3.




                                                6
         Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 8 of 35

04/01/2013                                                                         1110.77U
                                                                                  Appendix A

                        Appendix A. RTCA Special Committees

The following is a list of RTCA Special Committees as of September 2014. You can find the
most current list and descriptions of RTCA Special Committees at www.rtca.org.

SC-135        Environmental Testing

SC-147        Traffic Alert & Collision Avoidance System (TCAS)

SC-159        Global Positioning System (GPS)

SC-186        Automatic Dependent Surveillance-Broadcast (ADS-B)

SC-206        Aeronautical Information Services (AIS) Data Link

SC-209        ATCRBS & Mode S Transponder

SC-213        Enhanced Flight Vision Systems & Synthetic Vision Systems (EFVS/SVS)

SC-214        Standards for Air Traffic Data Communication Services

SC-216        Aeronautical Systems Security

SC-217        Aeronautical Databases

SC-222        AMS(R)S

SC-223        Aeronautical Mobile Airport Communication System

SC-224        Airport Security Access Control Systems

SC-225        Rechargeable Lithium Batteries & Battery Systems

SC-227        Standards of Navigation Performance

SC-228        Minimum Operational Performance Standards for Unmanned Aircraft Systems

SC-229        406 MHz Emergency Locator Transmitters (ELTs)

SC-230        Airborne Weather Detection Systems

SC-231        Terrain Awareness Warning Systems (TAWS)

SC-232        Airborne Selective Calling Equipment




                                                7
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 9 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 10 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 11 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 12 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 13 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 14 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 15 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 16 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 17 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 18 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 19 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 20 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 21 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 22 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 23 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 24 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 25 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 26 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 27 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 28 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 29 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 30 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 31 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 32 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 33 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 34 of 35
Case 1:18-cv-00833-RC Document 17-1 Filed 07/04/18 Page 35 of 35
